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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF FLORIDA

CASE NO.
ANDRES GOMEZ,

Plaintiff,

V.

MIAMI HEAT LIMITED PARTNERSHIP,
a Florida Limited Partnership,

Defendant

CLASS ACTION COMPLAINT
Cornes now Andres Gomez ("Plaintiff), on behalf of himself and all others similarly

situated and alleges as follows:

INTRODUCTION

1. Plaintiff Andres Gomez brings this action individually and on behalf of all
others similarly situated against MIAMI HEAT LIMITED PARTNERSHIP, ("Defendant"),
alleging violations of Title III of the Americans with Disabilities Act, 42 U.S.C. § 12101 et seq.,
(hereinafter, "ADA.

2. Plaintiff is a blind individual. He brings this civil rights class action against
Defendant for offering and maintaining an internet website that is not fully accessible and
independently usable by visually impaired individuals.

3. Plaintiff Gomez has visited Defendant’s website (www.themiamiheatstore.com) in

conjunction with an intent and/or actual visit to Defendant’s brick and mortar stores for the

purchase of its products.

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4. Defendant offers its merchandise-related website, which is fully integrated with its
brick and mortar stores, to the general public and as such, they have subjected themselves to the
ADA. Defendant’s website is offered as a tool to locate physical stores, view available products
and services, obtain sales information, and obtain other information As a result, the website must
be integrated and interact with Defendant’s stores, including brick and mortar locations, available
products, and other information and in doing so must comply with the ADA, which means they
must not discriminate against individuals with disabilities and may not deny full and equal
enjoyment of services afforded to the general public.

5. Blind and Visually impaired consumers use screen reading software or other
assistive technologies in order to access website content. Defendant’s website, however, contains
digital barriers, limiting the ability of blind and visually impaired consumers to access its content.

6. Defendant’s website does not properly interact with screen reader software in a
manner that will allow the blind and visually impaired to enjoy the website, nor does the site
provide other means to accommodate the blind and visually impaired.

7. Plaintiff Gomez has visited Defendant’s website in the past, and intends to visit
the website in the future. However, unless Defendant is required to eliminate the access barriers at
issue, and required to change their policies so that access barriers do not reoccur on Defendant’s
website, Plaintiff will continue to be denied full and equal access to the website as described, and
will be deterred from fully using Defendant`s website in conjunction with Defendant’s brick and
mortar, physical store locations.

8. The ADA expressly contemplates the type of injunctive relief that Plaintiff seeks

in this action. The ADA provides, in part:

[i]n the case of violations of . . . this title, injunctive relief
shall include an order to alter facilities to make such facilities readily

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accessible to and usable by individuals with disabilities . . . Where
appropriate, injunctive relief shall also include requiring the
modification of a policy

42 U.S.C. § 12188(a)(2).

9. Therefore, on behalf of a class of similarly situated individuals, Plaintiff seeks a
declaration that Defendant’s website violates federal law as described and an injunction requiring
Defendant to modify its website, to include third-party vendors, so that it is fully accessible to, and
independently usable by, blind or visually impaired individuals. Plaintiff further requests that the
Court retain jurisdiction of this matter for a period to be determined to ensure that Defendant comes

into compliance with the requirements of the ADA and to ensure that Defendant has adopted and

is following an institutional policy that will, in fact, cause Defendant’s website to remain in

compliance with the law.

,|URISDICTION AND VENUE

lO. This Court has federal question jurisdiction pursuant to 28 U.S.C. § 1331 and 42

U.S.C. § 12188.

13. Plaintiff’s claims arose in this judicial district and Defendant does substantial
business in this judicial district.
14. Venue in this judicial district is proper under 28 U.S.C. § 1391(b)(2) in that this

is the judicial district in which a substantial part of the acts and omissions giving rise to the claims

occurred.

PARTIES

15. Plaintiff, ANDRES GOMEZ, is and, at all times relevant hereto, a resident of
the State of Florida. Plaintiff ANDRES GOMEZ is and, at all times relevant hereto, has been

legally blind and is therefore a member of a protected class under the ADA.

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16. Defendant, MIAMI HEAT LIMITED PARTNERSHIP, is a Florida Limited
Partnership qualified to do business in the State of Florida. Defendant, MMMI HEAT
LlMITED PARTNERSHIP, owns, operates, and maintains a website for its merchandise-
related services, www.themiamiheatstore.com. The physical stores and accompanying website
offer services, to include South Florida, to the public. The physical stores and website are
integrated and work collectively, and in conjunction and support of their sales and services at
their physical stores/retail locations and are public accommodations pursuant to 42 U.S.C. §
12181(7)(F).

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18. Defendant owns, operates and controls the website,

www.themiamiheatstore.com, which offers services related to Defendant’s stores, including

locations, available products and services, and other information and other functions.

19. Defendant’s website is a place of public accommodation pursuant to 42 U.S.C.
§ 12181(7)(F). Defendants' stores are also recipients of federal financial assistance pursuant
to 29 U.S.C. § 794. Therefore, under the ADA, Defendant must ensure that individuals with

disabilities have access to full and equal enjoyment of the services offered on its website.

20. Blind and visually impaired individuals may access websites by using
keyboards in conjunction with screen reader software that converts text to audio. Screen reader
software provides the primary method by which a visually impaired person may independently
use the Internet. Unless the websites are designed to be accessed with screen reader software,
visually impaired individuals are unable to fully access websites and the information, products,

and service available through the sites, to use in conjunction with the services and products

available at the physical stores.

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21. The international website standards organization, W3C, has published
Version 2.0 of the Web Content Accessibility Guidelines (WCAG 2.0 AA). WCAG 2.0 AA
provides widely accepted guidelines for making websites accessible to individuals
with disabilities and compatible with screen reader software. These guidelines have been
endorsed by the United States Department of Justice and numerous federal courts.

22. Plaintiff uses screen reader software in order to access a website's content.
However, despite several attempts, Defendant’s website did not integrate with Plaintiffs
software, nor was there any function within the website to permit access for visually impaired
individuals through other means. Plaintiff was denied the full use and enjoyment of the
facilities and services available on Defendant’s website as a result of access barriers of the

website and as it relates to their physical stores.

23. Defendant’s website does not meet the WCAG 2.0 AA level of accessibility.
24. By failing to adequately design and program its website to accurately and
sufficiently integrate with screen reader software, Defendant has discriminated
against Plaintiff and others with visual impairments on the basis of a disability by denying

them full and equal enjoyment of the website, in violation of 42 U.S.C. § 12182(a) and C.F.R.

§ 36.201.

25. As a result of Defendant’s discrimination, Plaintiff was unable to use
Defendant’s website and suffered an injury in fact including loss of dignity, mental anguish and

other tangible injuries, and is in imminent danger of suffering future injury without injunctive

relief.

26. The barriers at the website have caused a denial of Plaintiff s full and equal

access multiple times in the past, and now deter Plaintiff from attempting to use Defendant’s

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website and related stores,

27. lf Defendant’s website was accessible and Defendant maintained its website in
an accessible state, Plaintiff could independently research products and services offered at
Defendant’s stores and could access the Defendant’s retail, physical/brick and mortar stores for

in-person purchases and services on products and bargains listed on the Defendant’s website,

28. Although Defendant may have centralized policies regarding the maintenance
and operation of its website, Defendant has never had a plan or policy that is reasonably calculated
to make its website fully accessible to, and independently usable by, people with visual
impairments, to include but not limited to inquiring and seeking information about sales, verifying
the location of the Defendant’s physical retail stores, in conjunction with visiting the physical store
in person for the purchase of Defendant’s goods and services at the physical store locations.

29. Without injunctive relief, Plaintiff and other visually impaired individuals will
continue to be unable to independently use Defendant’s website and its physical retail facilities

in conjunction with their website in violation of their rights under the ADA.

CLASS ALLEGATIONS

30. Plaintiff brings this class action on behalf of himself and all others similarly
situated pursuant to Rules 23(a) and 23(b)(2) of the Federal Rules of Civil Procedure, on behalf
of all legally blind individuals who have attempted, or will attempt, to access Defendants' website
using screen reader software,

31. Numerous Class: The class described above is so numerous that joinder of all
individual members in one action would be impracticable The disposition of the individual claims

of the respective class members through this class action will benefit both the parties and this

Court.

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32. Typicality: Plaintiff’s claims are typical of the claims of the members of the
class. The claims of the Plaintiff and members of the class are based on the same legal theories
and arise from the same unlawful conduct.

33. Common Questions of Fact and Law: There is a well-defined community of
interest and common questions of fact and law affecting members of the class in that they all
have been and/or are being denied their civil rights to full and equal access to, and use and
enjoyment of, Defendant’s facilities and/or services due to Defendant’s failure to make its website
fully accessible and independently usable as above described,

34. Adequacv of Representation: Plaintiff is an adequate representative of the class
because his interests do not conflict with the interests of the members of the class. Plaintiff will
fairly, adequately, and vigorously represent and protect the interests of the members of the class
and has no interests antagonistic to the members of the class. Plaintiff has retained counsel
who are competent and experienced in the prosecution of class action litigation, generally, and

who possess specific expertise in the context of class litigation under the ADA.

35. Class certification is appropriate pursuant to Fed. R. Civ. P. 23(b)(2) because
Defendants have acted or refused to act on grounds generally applicable to the Class, making

appropriate both declaratory and injunctive relief with respect to Plaintiff and the Class as a whole.

SUBSTANTIVE VIOLATIONS

Title III of the ADAl 42 U.S.C. § 12181 et seg.

36. The allegations contained in the previous paragraphs are incorporated by
reference.
37. Section 302(a) of Title HI of the ADA, 42 U.S.C. § 12101 et seq., provides: "No

individual shall be discriminated against on the basis of a disability in the full and equal enjoyment

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the goods, facilities, privileges, advantages or accommodations of any place of public

accommodation by any person who owns, leases (or leases to), or operates a place of public

accommodation." 42 U.S.C. § l2182(a).

38. Defendant’s stores and accompanying website are public accommodations

within the definition of Title III of the ADA, 42 U.S.C. § 12181(7)(F').

39. Under Section 302(b)(2) of Title III of the ADA, it is unlawful discrimination to
deny individuals with disabilities the opportunity to participate in or benefit from the goods,

services, facilities, privileges, advantages or accommodations of an entity. 42 U.S.C. §

12182(b)(l)(A)(l).

40. Under Section 302(b)(2) of Title III of the ADA, it is unlawful discrimination to
deny individuals with disabilities the opportunity to participate in or benefit from the goods,
services, facilities, privileges, advantages or accommodations, which is equal to the opportunities

afforded to other individuals. 42 U.S.C. § l2182(b)(l)(A)(ii').

41. Under Section 302(b)(2) of Title III of the ADA, unlawful discrimination also

includes, among other things:

a failure to make reasonable modifications in policies, practices or
procedures, when such modifications are necessary to afford such
goods, services, facilities, privileges, advantages or
accommodations to individuals with disabilities, unless the entity
can demonstrate that making such modifications would
fundamentally alter the nature of such goods, services, facilities,
privileges, advantages or accommodations; and a failure to take such
steps as may be necessary to ensure that no individual with a
disability is excluded, denied services, segregated or otherwise
treated differently than other individuals because of the absence of
auxiliary aids and services, unless the entity can demonstrate that
taking such steps would fundamentally alter the nature of good,
service, facility, privilege, advantage or accommodation being
offered or would result in an undue burden

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42 U.S.C. § 12182(b)(2)(A)(ii)-(iii); see also 28 C.F.R. § 36.303(a).

42. Title III requires that "[a] public accommodation shall furnish appropriate auxiliary
aids and services where necessary to ensure effective communication with individuals with
disabilities." 28 C.F.R. § 36.303(c)(1). The regulation sets forth numerous examples of "auxiliary
aids and services," including "...accessible electronic and information technology; or other
effective methods of making visually delivered materials available to individuals who are blind or

have low vision." 28 C.F.R. § 36.303(b).

43. The acts alleged herein constitute continuing present violations of Title III of the
ADA, and the regulations promulgated thereunder. Plaintiff, who is blind and has a disability that
substantially limits the major life activity of seeing, within the meaning of 42 U.S.C. §§
12102(1)(A') and (2)(A), has been denied full and equal access to Defendant’s website. Plaintiff
has not been afforded the services, privileges and advantages that are provided to other patrons
who are not disabled, and/or have been provided services, privileges and advantages that are
inferior to those provided to non-disabled persons. These violations are ongoing as Defendants
have failed to make any prompt and equitable changes to its website and policies in order to remedy
its discriminatory conduct.

PRAYER FOR RELIEF

WHEREFORE, Plaintiff, on behalf of himself and the members of the class, prays for:
a. A Declaratory Judgment that at the commencement of this action Defendant was in
violation of the specific requirements of Title III of the, described above, and the relevant
implementing regulations of the ADA, in that Defendant took no action that was reasonably

calculated to ensure that its website are fully accessible to, and independently usable by, blind

individuals;

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b. A permanent injunction pursuant to 42 U.S.C. § 12188(a)(2), 29 U.S.C.A. § 794a,
28 CFR § 36.504 (a) which directs Defendant, and its third-party vendors, to take all steps
necessary to bring its website into full compliance with the requirements set forth in the ADA,
maintain the website in compliance with the regulations set forth in the ADA, and that statute’s
implementing regulations, so that its website is fully accessible to, and independently usable by,
blind individuals, in conjunction with visits to the Defendant’s physical stores and places of public
accommodation and which further directs that the Court shall retain jurisdiction for a period to be
determined to ensure that Defendant has adopted and is following an institutional policy that will
in fact cause Defendant to remain fully in compliance with the law;

c. An Order certifying the class proposed by Plaintiff, and naming Plaintiff as class
representatives and appointing his counsel as class counsel;

d. Payment of attorneys’ fees and costs incurred in this lawsuit;

e. Payment of reasonable attorneys' fees, pursuant to 42 U.S.C. § 12205, 29 U.S.C.A. § 794a,
and 28 CFR § 36.505; and,

f. The provision of whatever other relief the Court deems just, equitable and appropriate

Dated: July l9"‘, 2018.

Respectfully Submitted,

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